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   8                         UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
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  11   METRICOLOR LLC,                               Case No. 2:18-cv-00364-CAS-Ex
  12         Plaintiff and Counterdefendant,         JUDGMENT FOLLOWING
                                                     ORDER GRANTING
  13         v.                                      DEFENDANTS’ MOTION FOR
                                                     TERMINATING SANCTIONS
  14   L’ORÉAL USA, INC.; L’ORÉAL USA
       PRODUCTS, INC.; L’ORÉAL USA
  15   S/D, INC.; REDKEN 5th AVENUE
       NYC, LLC; and DOES 1 through 100,
  16   inclusive,
  17         Defendants, Counterclaimants and
             Third-Party Plaintiffs,
  18         v.
  19   SALVATORE D’AMICO, and
       STEPHEN D’AMICO,
  20
       Third-Party Defendants.
  21
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  24                                       JUDGMENT
  25   The Court entered an Order DISMISSING Plaintiff’s claims in the First Amended
  26   Complaint WITH PREJUDICE on March 29, 2024 after finding that Plaintiff
  27   “repeatedly fabricated, destroyed, and withheld evidence in this action,” and that
  28   Plaintiff’s “misconduct was the result of ‘willfulness, bad faith, and fault.’” Dkt.
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   1   414 at 29-30. In addition, on May 15, 2024 the Court denied Plaintiff’s motion for
   2   reconsideration and the parties stipulated to the dismissal of Defendants’
   3   counterclaims. Dkt. 438, 439. Judgment is accordingly entered in favor of the
   4   Defendants and against Plaintiff.
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             IT IS SO ORDERED.
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   7   Dated: June 28, 2024                  _______                              ______
   8                                             HON. CHRISTINA A. SNYDER
                                                 United States District Court Judge
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                                     [PROPOSED] JUDGMENT
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